                  IN THE UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF OHIO
                            EASTERN DISTRICT

MICHAEL GONIDAKIS, ET AL.                :     CASE NO. 2:22-CV-773
                                         :
      PLAINTIFFS                         :     CHIEF JUDGE ALGENON L.
                                         :     MARBLEY
VS.                                      :
                                         :     CIRCUIT JUDGE AMUL R.
FRANK LAROSE,                            :     THAPAR
                                         :
      DEFENDANTS.                        :     JUDGE BENJAMIN J. BEATON

   JOINDER OF INTERVENOR PLAINTIFFS THE SIMON PARTIES IN
   BENNETT PETITIONERS’ RESPONSE TO POST-HEARING BRIEFS
 REGARDING PLAINTIFFS’ MOTION FOR A PRELIMINARY INJUNCTION

       For reasons set forth in the previous opposition filed by the Simon Parties to

adoption of any plan for reapportionment of the Ohio General Assembly proposed by

Defendants, ECF Docket #100, the Simon Parties respectfully join the Opposition at ECF

Docket #181.




                                             /s/ Percy Squire_________________
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                             CERTIFICATE OF SERVICE

       The undersigned hereby certifies that a copy of the foregoing was served by

operation of the United States District Court, Southern District of Ohio electronic filing

system, on April 12, 2022.


                                             s/Percy Squire, Esq.
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                                             Attorney for Intervenors-Plaintiffs




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